            IN THE UNITED STATES DISTRICT COURT                          
            FOR THE MIDDLE DISTRICT OF ALABAMA                           
                     NORTHERN DIVISION                                   
JONATHAN SINGLETON, et al.,    )                                         
                               )                                         
          Plaintiffs,          )                                         
                               )                                         
     v.                        )    CASE NO. 2:20-CV-99-WKW              
                               )              [WO]                       
CITY OF MONTGOMERY,            )                                         
ALABAMA, et al.,               )                                         
                               )                                         
          Defendants.          )                                         

                            ORDER                                        

    On  September  16,  2020,  Jonathan  Singleton,  Ricky  Vickery,  and  Micki 
Holmes (“Plaintiffs”) and the City of Montgomery, Alabama (the “City”) filed a 
Joint Motion to Approve their Stipulated Settlement Agreement.  (Doc. # 56.)  In 
their motion, Plaintiffs and the City ask the court to retain jurisdiction to enforce the 
Settlement  Agreement  and  to  dismiss  Plaintiffs’  claims  against  the  City  only, 
pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii).  In light of the joint 
motion, the court has attached a proposed order addressing the relief sought by 
Plaintiffs and the City.                                                  
    Accordingly, it is ORDERED that if either Plaintiffs or the City object to the 
court’s proposed order, the objecting party shall show cause, in writing, on or before 
November 23, 2020, as to the specific nature of the objection and shall provide 
citation to any legal authority supporting the objection.  It is further ORDERED that 
if no objection to the court’s proposed order exists, then Plaintiffs and the City shall 
file a Notice on or before November 23, 2020, indicating as much.         

    DONE this 5th day of November, 2020.                                 
                                        /s/ W. Keith Watkins                   
                             UNITED STATES DISTRICT JUDGE                





























                               2                                         
            IN THE UNITED STATES DISTRICT COURT                          
            FOR THE MIDDLE DISTRICT OF ALABAMA                           
                     NORTHERN DIVISION                                   
JONATHAN SINGLETON, et al.,    )                                         
                               )                                         
          Plaintiffs,          )                                         
                               )                                         
     v.                        )    CASE NO. 2:20-CV-99-WKW              
                               )              [WO]                       
CITY OF MONTGOMERY,            )                                         
ALABAMA, et al.,               )                                         
                               )                                         
          Defendants.          )                                         

                      PROPOSED ORDER                                     
    Jonathan Singleton, Ricky Vickery, and Micki Holmes (“Plaintiffs”) bring 
this action against the City of Montgomery, Alabama (the “City”), Hal Taylor, in his 
official capacity as Secretary of the Alabama Law Enforcement Agency, and Derrick 
Cunningham, in his official capacity as Sheriff for Montgomery County, Alabama. 
Plaintiffs seek class certification as well as declaratory and injunctive relief, alleging 
that enforcement of Alabama Code §§ 13A-11-9(a)(1) and 32-5A-216(b) violates 
their right to freedom of speech under the First Amendment as incorporated by the 
Fourteenth Amendment to the United States Constitution.                   
    Plaintiffs and the City represent that they have reached a settlement agreement 
that resolves this dispute with respect to Plaintiffs’ claims against the City only.  
(Doc. # 56.)  In the Joint Stipulation of Dismissal with Prejudice, Plaintiffs and the 
City request the court to “retain jurisdiction to enforce the [settlement agreement] 
for three . . . years.”  (Doc. # 56, at 2.)  The settlement agreement primarily requires 
that the City will not enforce either Alabama Code § 13A-11-9(a)(1) or Alabama 

Code  §  32-5A-216(b)  pending  a  determination  on  the  constitutionality  of  the 
respective  statutes.    (Doc.  #  56-1,  at  5–6.)    Further,  the  settlement  agreement 
provides for several contingencies based on the outcome of the remaining case 

between Plaintiffs and Defendants Taylor and Cunningham.  For instance, if the case 
against Defendants Taylor and Cunningham is resolved without a ruling on the 
constitutionality of the statutes at issue, then the City                 
    will continue to be bound to refrain from enforcing the [s]tatutes until 
    the earlier of (i) ten . . . years from the date of an Order in this case 
    dismissing the lawsuit against the City, or (ii) a ruling by the United 
    States Eleventh Circuit Court of Appeals or the Alabama Supreme      
    Court that the [s]tatutes are constitutional.                        

(Doc. # 56-1, at 5–6).  Although this portion of the settlement agreement does not 
contemplate it, a ruling from the United States Supreme Court holding the respective 
statutes constitutional would also permit the City to begin enforcement.   
    Moreover, in the event this case is resolved without any court ruling on the 
constitutionality of the statutes, such that the City “is bound to refrain from enforcing 
the  [s]tatutes  for  the  above  mentioned  ten-year  period,  Plaintiffs  shall  not  be 
precluded from renewing their claims against the [the City] after the expiration of 


                               2                                         
the ten-year period should the City resume enforcing the [s]tatutes.”  (Doc. # 56-1, 
at 6.)                                                                    

    “[F]or a district court to retain jurisdiction over a settlement agreement where 
the parties dismiss the case by filing a stipulation of dismissal pursuant to Rule 
41(a)(1)(A)(ii), either (1) the district court must issue the order retaining jurisdiction 

under Kokkonen prior to the filing of the stipulation, or (2) the parties must condition 
the effectiveness of the stipulation on the district court’s entry of an order retaining 
jurisdiction.”  Anago Franchising, Inc. v. Shaz, LLC, 677 F.3d 1272, 1280 (11th Cir. 
2012) (citing Kokkonen v. Guardian Life Ins. of Am., 511 U.S. 375 (1994) (footnote 

omitted)).  Here, Plaintiffs and the City have conditioned the effectiveness of the 
stipulation on the entry of an order retaining jurisdiction.  Based upon the nature of 
this  litigation  and  the  represented  terms  of  settlement,  the  court  will  retain 

jurisdiction over the enforcement of the settlement agreement until November 24, 
2023.  By retaining jurisdiction, the court does not adopt any conclusions of law 
contained in the settlement agreement.                                    
    Accordingly, it is ORDERED as follows:                               

    (1) Plaintiffs and the City’s Joint Motion (Doc. # 56) is GRANTED    
    (2) Plaintiffs’ action against the City of Montgomery is DISMISSED with 
prejudice on the terms agreed to by Plaintiffs and the City;              

                               3                                         
    (3) The court shall retain jurisdiction over the enforcement of the settlement 
agreement until November 24, 2023; and                                    

    (4)  This  action  proceeds  as  to  Plaintiffs’  action  against  the  remaining 
Defendants.                                                               
    DONE this ___ day of November, 2020.                                 
                                       /s/ W. Keith Watkins              
                                UNITED STATES DISTRICT JUDGE             